      Case 1:18-cr-00062-DLC-TJC Document 2 Filed 05/17/18 Page 1 of 3



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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION

 UNITED STATES OF AMERICA,                 CR 18-   bd. -BLG-    1) LC...

                      Plaintiff,           INDICTMENT

          vs.                              SEXUAL ABUSE OF A MINOR
                                           (Count I)
                                           Title 18 U.S.C. §§ 1153(a) and 2243(a)
 CODY KENT ELKSHOULDER,
                                           (Penalty: Fifteen years imprisonment,
                                           $250,000 fine, and not less than five
                      Defendant.           years to lifetime supervised release)

                                           ABUSIVE SEXUAL CONTACT
                                           (Count II)
                                           Title 18 U.S.C. §§ 1153(a) and 2244(a)(3)
                                           (Penalty: Two years imprisonment,
                                           $250,000 fine, and not less than five
                                            ears to life su ervised release



THE GRAND JURY CHARGES:




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      Case 1:18-cr-00062-DLC-TJC Document 2 Filed 05/17/18 Page 2 of 3



                                     COUNT!

      That in or about January 2017, near Lame Deer and in Rosebud County, in

the State and District of Montana, and within the exterior boundaries of the

Northern Cheyenne Indian Reservation, being Indian Country, the defendant,

CODY KENT ELKSHOULDER, an Indian person, knowingly engaged in a sexual

act with M.L., when M.L. had attained the age of 12 years but not the age of 16

years, and the defendant was more than four years older than M.L., in violation of

18 U.S.C. §§ l 153(a) and 2243(a).

                                     COUNT II

      That in or about January 2017, near Lame Deer in Rosebud County, in the

State and District of Montana, and within the exterior boundaries of the Northern

Cheyenne Indian Reservation, being Indian Country, the defendant, CODY KENT

ELKSHOULDER, an Indian person, knowingly engaged in sexual contact with

M.L. , when M.L. had attained the age of 12 years but not the age of 16 years, and

the defendant was more than four years older than M.L., in violation of

18 U.S.C. §§ l 153(a) and 2244(a)(3).

II

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      Case 1:18-cr-00062-DLC-TJC Document 2 Filed 05/17/18 Page 3 of 3



      A TRUE BILL.

                                     Foreperson signature redacted. Original document filed under seal.



                                     FOREPERSON


✓~r" ~
KURTG.ALME
United States Attorney



      HE. THAGGARD
Criminal Chief Assistant U.S. Attorney                  .Ctim:·s\1mm6ns _::/L_
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